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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 THE TORO COMPANY,                     )
                                       )
       Plaintiff,                      )
                                       )
                v.                     )      Case No. 1:18-cv-03026-WTL-DLP
                                       )
 MATTHEW P. SMITH,                     )
 MICHAEL D. FLOYD,                     )
 R. JONES, BRENT A. MILLS,             )
 CRAIG M. CONYER,                      )
 JAMES W. KEPNER,                      )
 STEEL GREEN                           )
 MANUFACTURING LLC,                    )
                                       )
       Defendants.                     )




     Declaration (SEALED)of Dr.
     James Rice for Pl.’s Mot. for
              Prelim. Inj.
 Dated: December 26, 2018              Respectfully submitted,

                                       FAEGRE BAKER DANIELS LLP

                                       By: /s/ Matthew E. Burkhart
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 THE TORO COMPANY,                            )
                                              )
        Plaintiff,                            )
                                              )
                v.                            )         Case No. 1:18-cv-03026-WTL-DLP
                                              )
 MATTHEW P. SMITH,                            )
 MICHAEL D. FLOYD,                            )
 R. SCOT JONES, BRENT A. MILLS,               )
 CRAIG M. CONYER,                             )
 JAMES W. KEPNER,                             )
 STEEL GREEN                                  )
 MANUFACTURING LLC,                           )
                                              )
        Defendants.                           )

                            DECLARATION OF DR. JAMES RICE

        I, Dr. James Rice, hereby declare as follows:

 I.     INTRODUCTION

        1.      I have been retained by Faegre Baker Daniels LLP on behalf of The Toro

 Company (“Toro”) as a technical expert in this matter to provide my opinions in connection with

 the trade secret misappropriation allegations brought by Toro against defendants Matthew Smith,

 Michael Floyd, R. Scot Jones, Brent Mills, Craig Conyer, James Kepner (collectively “Individual

 Defendants”), and Steel Green Manufacturing LLC (“Steel Green”). I understand that Toro’s

 allegations concern trade secrets it possesses regarding its manufacturing of stand-on

 sprayers/spreaders.

        2.      Specifically, I have been asked by Toro to provide expert testimony on whether

 (a) the information about Toro’s manufacturing of stand-on sprayers/spreaders is generally

 known or readily ascertainable by proper means by others who can obtain economic value from
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 its disclosure or use; (b) the information produced in discovery by Defendants supports a 100-

 day development timeline as asserted by Defendants (“100-Day Development Timeline”); and

 (c) Steel Green or any of the Individual Defendants used Toro’s trade secrets in its development

 or manufacture of Steel Green stand-on sprayers/spreaders.

        3.      I understand that, for Toro to have information that qualifies as a trade secret, that

 information must (a) not be generally known or readily ascertainable by proper means by others

 who can obtain economic value from its disclosure or use, and (b) the subject of reasonable

 efforts to protect its secrecy. I express no opinion on whether Toro took reasonable efforts to

 maintain the secrecy of its purported trade secrets, as that evaluation falls outside of my area of

 expertise. For purposes of this declaration, I assume that Toro has taken such reasonable efforts

 and evaluate whether the information it purports to have protected is generally known or readily

 ascertainable by proper means by others who can obtain economic value from its disclosure or

 use, as well as whether that information has been misappropriated by Steel Green and/or the

 individual defendants.

        4.      My opinions in this declaration are based on a review of a portion of the

 documentary evidence produced in this case, my own independent research and investigation, my

 education, and my professional experience, which includes more than 40 years of experience in

 industry and academia. A summary of my qualifications is provided below. As further described

 in this declaration, due to the expedited nature of this matter, I have not yet had sufficient time to

 review all documents that have been produced. I continue to review documents and reserve the

 right to supplement or augment my opinions based on my ongoing review, any additional

 discovery information that is produced or received, and any other information gleaned from my

 own review and investigation.




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 II.     BACKGROUND AND QUALIFICATIONS

        5.      I hold Bachelors, Masters, and Ph.D. degrees in Mechanical Engineering. I have

 over 40 years of professional experience in mechanical engineering design and analysis in both

 academic and industrial environments. I have worked as a consultant or advisor for over 50

 companies, including Ford Motor Company, Boeing Aircraft, General Motors, and Siemens. I

 have authored or co-authored over 30 publications and numerous consulting reports.

        6.      I have extensive background and experience in the area of mechanical engineering

 design and analysis. In particular, I have extensive education, background, and experience in the

 fundamental technical areas of relevance to the design and engineering of mechanical equipment

 such as the stand-on spreaders/sprayers of the current study. A major portion of my professional

 experience has involved my direct participation in engineering projects involving the design and

 development of a wide variety of such mechanical systems and components.

        7.      Of particular relevance to the current study is my extensive experience in

 Computer Aided Engineering (“CAE”). CAE broadly includes Computer Aided Design (“CAD”)

 software and Computer Aided Analysis software. I founded a software company that developed

 analysis software with the primary goal of providing the capability of working in conjunction

 with the CAE software available at the time. The software would allow a user to generate an

 analysis model directly from a CAD model. The software we developed was widely used in

 industry by companies such as Ford, Boeing, John Deere, and Caterpillar. In addition, during the

 academic portion of my career, I taught courses in “Computer Aided Engineering.”

        8.      A current copy of my curriculum vitae setting forth further details of my

 background and relevant experience is attached as Exhibit 1. My curriculum vitae includes a

 listing of cases for which I have provided expert testimony over the last five years and a list of all




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 of the publications I have authored. I am being compensated at my usual rate of $400 per hour.

 My compensation is not dependent on the outcome of this litigation or the opinions I present in

 this report.

 III.    MATERIALS CONSIDERED

         9.     To the best of my knowledge, I have been provided with access to every

 document that has been produced in this matter, including those documents produced by

 nonparties. I have not yet reviewed every document that has been produced in this matter, as I

 have not yet had enough time to do so given the expedited nature of the proceedings. As of

 December 21, 2018, I have reviewed only a portion of the produced documents, including some

 part drawings produced by both Toro, Steel Green, and the Individual Defendants. As stated

 previously, I continue to review documents and reserve the right to supplement or augment my

 opinions based on my ongoing review, any additional discovery information that is produced or

 received, and any other information gleaned from my own review and investigation.

 IV.     OPINIONS AND THE BASES THEREOF

         10.    Based on my review completed to date, I have reached to following opinions.

         A.     Toro Possesses Trade Secret Information.

         11.    Based on my review to date, my own independent research and investigation, my

 education, and my professional experience, it is my opinion that Toro’s trade secrets are not

 generally known or readily ascertainable by proper means by others who can obtain economic

 value from their disclosure or use.

         12.    Specifically, as noted in Toro’s responses to Steel Green’s interrogatories, Toro

 contends that its trade secrets consist in part of engineering and computer-aided drawing (CAD)

 files for Toro’s Z-Spray stand-on sprayer/spreader machines and the fixtures used in the



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 machines’ manufacture, including but not limited to .ipt, .iam, .idw, .dwg, .dxf, .cnc, and .prt

 files.

          13.   It is my opinion that these drawings are not generally known or readily

 ascertainable by proper means.

          14.   Based on my investigation to date, I have found no instance where Toro published

 its engineering or computer-aided drawing files for the public to view. Moreover, the information

 contained within Toro’s engineering and computer-aided drawing files is not readily

 ascertainable by proper means. Toro’s engineering and computer-aided drawing files contain

 information that could not be obtained through a reverse-engineering process, such as

 manufacturing tolerances and other manufacturing information like assembly procedures. Some

 examples of Toro drawings containing this type of information include drawings for parts

 ZB200336 (listed as “Exhibit_A37756” in Exhibit 1 to Toro’s interrogatory responses),

 ZB200144-A (listed as “Exhibit_A37348” in Exhibit 1 to Toro’s interrogatory responses),

 ZB200354 (listed as “Exhibit_A37773” in Exhibit 1 to Toro’s interrogatory responses), 80176-R

 (listed as “Exhibit_A37330” in Exhibit 1 to Toro’s interrogatory responses), ZB200113 R1

 (listed as “Exhibit_A37603” in Exhibit 1 to Toro’s interrogatory responses), and 80154-2014

 (listed as “Exhibit_A37571” in Exhibit 1 to Toro’s interrogatory responses), just to name a few.

          15.   Furthermore, as noted in Toro’s interrogatory responses, Toro also contends that

 its trade secrets consist in part of product component sourcing, including the identity of

 component suppliers, component costs, and Toro’s proprietary compilation of vendor component

 drawings and offerings. It is my opinion that this information is also not generally known or

 readily ascertainable by proper means.




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        16.     Based on my investigation to date, I have found no instance where Toro published

 its compiled vendor list or drawings for the public to view. Moreover, the information compiled

 by Toro with respect to its vendor drawings, sources, and offerings is not readily ascertainable by

 proper means. The full complement of Toro’s vendor information could not be derived from a

 reverse-engineering process or other proper means.

         B.      The Steel Green 100-Day Development Timeline Is Not Plausible Without the
                 Use of Toro Trade Secret Information.

        17.     It is my opinion that the timeline in which Steel Green purports to have developed

 its products is implausible.

        18.     Specifically, Steel Green contends in its response to Toro’s Interrogatory No. 3

 that its development of its six prototype machines “started in mid-July 2018” and “were finished

 on or about October 15 and 16, 2018.” I refer to this assertion as the “100-Day Development

 Timeline” in this declaration.

        19.     Based on my review to date, my own independent research and investigation, my

 education, and my professional experience, it is my opinion that Steel Green could not design,

 develop, and manufacture six prototypes of these types of machines within a period of

 approximately 100 days without the use of Toro trade secret information.

                 1.     The Product Development Process

        20.     The typical new product development cycle is illustrated below in Figure 1.

        21.     The design and engineering process for a product typically proceeds in a number

 of related and iterative steps as illustrated below in Figure 1. This process is greatly simplified in

 this figure and does not call out detailed design requirements such as the development of required

 manufacturing equipment and processes. Such steps are simply included as part of overall blocks

 such as the “Detailed Design” or “Design Modifications” steps shown in the figure. Input to each



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 of these steps may come from an engineering group, a manufacturing group, or a quality control

 group for example. Once the development process is essentially complete, all of the required

 information to manufacture the product is typically stored in a “Product Data Management”

 (PDM) database or some functionally-equivalent software or system. The data is accessed using

 the software or system specifically designed for this purpose. Note that the product is never

 static, but may evolve during its’ life cycle as improvements are developed.




                                            Figure 1




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 In order to create working prototypes of these machines, at a minimum Steel Green would have

 had to complete all of the steps shown in the above figure for at least the “Detailed Design”

 portion of the cycle. To date, I have seen no evidence that Steel Green engaged in all of these

 steps in connection with the production of Steel Green’s machines. The complexity of the Z-

 Spray machines further illustrates the implausibility of the 100-Day Development Timeline.

        22.     Based on my review to date, I have determined that Toro’s Z-Spray Z-Max

 machine has 15 part assemblies, as listed in the table shown below. Each of those part assemblies

 is made up of several component parts, as also reflected in the table shown below. The smaller Z-

 Spray machines have a similar number of parts.

                                 Assembly                     Number of Parts
                             Engine Assembly                       65
                               Main Frame                          38
                                Park Brake                         17
                               Fuel System                         10
                             Hydro Assembly                        65
                         Motion Control Assembly                   36
                             Spray Assembly                        62
                            Manifold Assembly                      13
                         Liquid Valve Assemblies                   13
                             Boom Assembly                         20
                     Left Tank & Hose Reel Assembly                13
                           Right Tank Assembly                      4
                            Spreader Assembly                      47
                             Wheel Assembly                        16
                       Standard Electrical Assembly                38
                           Total Required Parts                   457


        23.     Each of these 457 required parts must be specified and either manufactured or

 sourced from an appropriate vendor. A drawing and/or specification would be required for each

 one of the parts. Based on my review to date, I do not see the type or amount of development that

 would be required of a manufacturer that is creating a new product from scratch.




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                2.      The Inadequacy of the Drawings Reviewed to Date Further Illustrates
                        the Implausibility of the 100-Day Development Timeline.

        24.     To date, I have reviewed several part drawings produced by Steel Green and the

 Individual Defendants.

        25.     A significant number of these drawings are wholly inadequate. While my review

 is not yet complete, many of the “drawings” that I have reviewed to date fail to include critical

 information that would be needed in order to manufacture prototype machines. Numerous

 drawings are missing key measurements, manufacturing tolerances, material specifications,

 surface finishes, titles, bend radiuses, or other manufacturing information such as assembly

 procedures, that I would expect to see on drawings that would be used to create machines and

 their components.

        26.     Based on my review of a portion of the documentary evidence produced in this

 case, my education, and my professional experience, it is my opinion that Steel Green could not

 develop complete, working prototypes of its machines using only the drawings that it has

 produced in this matter. As a result of the missing key measurements, manufacturing tolerances,

 material specifications, surface finishes, titles, bend radiuses, or other manufacturing information

 as described above, many of the drawings that I have reviewed present insufficient information

 for a manufacturer to actually make the part drawn, let alone full machines consisting of the

 hundreds of individual component parts.

                3.      Steel Green’s Reliance on Known Toro Vendors Further Illustrates
                        the Implausibility of the 100-Day Development Timeline.

        27.     As noted above, each of these 457 parts required to manufacture a Z-Spray-like

 machine must be specified and either manufactured or sourced from an appropriate vendor.

        28.     Based on the evidence that I have reviewed, it is my opinion that Steel Green

 relied on Toro confidential information to source components for its competing machines.


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         29.    Specifically, I have reviewed two documents produced by the Individual

 Defendants that reflect vendor information. INDS00013245 appears to be a list of potential

 vendors compiled by one or more of the Individual Defendants in preparation for a planning

 meeting at Defendant Smith’s house on May 21, 2018—a time at which the Individual

 Defendants were still working for Toro. INDS00000626 appears to be a list of vendors that Steel

 Green had contacted, which was transmitted by email INDS00000625 from Mike Floyd to Ray

 Riley on September 4, 2018. Additionally, I have reviewed a 2016 Toro vendor list, which was

 produced at Bates number TORO00018253.

         30.    Based on my review of these customer lists, there is significant overlap between

 the vendors Toro used as component sources for its Z-Spray line and the vendors that Steel

 Green has targeted and/or contacted for sourcing its machines. More specifically, I see over 20

 vendors from the Toro vendor list that are present on one or both of the two Steel Green vendor

 lists described above.

         31.    Additionally, there are several communications that have been produced by the

 Individual Defendants that show Steel Green’s reaching out to Toro vendors and requesting that

 those vendors source identical or near-identical Toro parts for Steel Green. See, e.g.,

 INDS00010220, INDS00011225, INDS00011229, INDS00011237, INDS00009594.

         C.      Steel Green Misappropriated Toro’s Trade Secret Information.

        32.     As an initial matter, it is my understanding, based on my review of Toro’s

 interrogatory responses, that the Individual Defendants had access to all of the confidential and

 trade secret information that is at issue here.

        33.     Additionally, my initial review of a portion of the produced documents suggests

 that the Individual Defendants were heavily involved in the creation of Toro’s Z-Spray line. This




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 is particularly true of Defendant James Kepner, as the documents reflect that he was responsible

 for creating numerous drawings for Toro’s Z-Spray machines

        34.     Furthermore, I also understand that the Individual Defendants have represented

 their intent that their “new” competing machines would replicate those made by Toro. For

 example, I am aware of document INDS00013266, which appears to indicate Steel Green’s

 desire to create what would essentially be “twins” of the Junior and Intermediate Z-Spray

 machines, “less wheels and tub ring.”

        35.     Finally, I understand that, upon their departure from Toro, the Individual

 Defendants collectively took over 80,000 Toro files, as admitted in the Individual Defendants’

 letter to Toro returning three removable storage devices containing those 80,000+ Toro files. See

 TORO00030877; Exhibit 1 to Toro’s interrogatory responses.

        36.     Based on these facts, combined with the additional facts referenced above and my

 review to date, it is my opinion to a reasonable degree of engineering certainty that Steel Green

 used Toro’s trade secret information.

        37.     While my review is ongoing, my preliminary review has revealed several Steel

 Green drawings that are substantially similar to drawings produced by Toro.

        38.     Furthermore, while my review is ongoing, it is my opinion that Steel Green used

 Toro’s trade secret vendor information by targeting known Toro vendors, thus substantially

 reducing the time that would otherwise be needed for product development.

        39.     Once I have completed my review, I will supplement my opinions with additional

 information regarding Steel Green’s use of Toro’s drawing and vendor information.




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 V.      CONCLUSION

        40.     Based on a detailed review of a portion of the documentary evidence produced in

 this case, my own independent research and investigation, my education, and my professional

 experience, which includes more than 40 years of experience in industry and academia, it is my

 opinion to a reasonable degree of engineering certainty that (a) the information that Toro asserts

 is trade secret is not generally known or readily ascertainable; (b) the information produced in

 discovery by Defendants does not support its purported 100-Day Development Timeline; and (c)

 Steel Green, through the Individual Defendants, used Toro’s trade secrets.

        I declare under penalty of perjury under the laws of Indiana and the United States of

 America that the foregoing is true and correct. Executed this 26th day of December 2018, in

 Keswick, Virginia.


                                                      ____________
                                               Dr. James Rice




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